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 1                                UNITED STATES DISTRICT COURT

 2                                          DISTRICT OF NEVADA

 3
      UNITED STATES OF AMERICA
 4
                            Plaintiff(s),
 5

 6
      VS.                                                       2:06-CR-096-JCM-RJJ
 7
      GARY LOUIS RODRIGUEZ AND
 8
      NGOCLAN THI DANG
 9
                          Defendant(s),
10

11

12                      SEALED ORDER FOR DESTRUCTION OF EXHIBITS

13            The Clerk's Office having given notice to counsel as prescribed by LR 79-1 and LCR

14   55-1 of the Local Rules of Practice of this Court, and counsel having failed to make

15   arrangements to retrieve the exhibits in the allotted time, IT IS HEREBY ORDERED that the

16   Clerk is authorized to destroy the exhibits previously admitted in this matter.

17            September 27, 2010
     Dated:
18                                                U.S. DISTRICT JUDGE

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